    Case 1:98-cv-00045-GJQ ECF No. 479, PageID.8 Filed 02/01/13 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


WRENCH LLC, et al.,

       Plaintiff,                                    Case No. 1:98-CV-45

v                                                    Hon. Gordon J. Quist

TACO BELL CORP.,                                     NOTICE OF NO OBJECTION TO
                                                     UNSEALING/TRANSFERRING OF
       Defendant.                                    DOCUMENTS
                                                     /

       Plaintiff, through its counsel, Warner Norcross & Judd LLP and in response to this

Court’s Order of January 16, 2013 (Doc. 475), states that it has no objection to the referenced

documents (Doc. 55, 304, and 317) being unsealed and transferred to the Federal Archives and

Records Center for storage.

                                             WARNER NORCROSS & JUDD LLP


Dated: February 1, 2013               By:    /s/ Douglas A. Dozeman
                                             Douglas A. Dozeman (P37581)
                                             Attorneys for Plaintiff
                                             900 Fifth Third Center
                                             111 Lyon, NW
                                             Grand Rapids, MI 49503
                                             616.752.2000
                                             ddozeman@wnj.com
